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 6                      IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8                                             )    No. CR-20-00626-001-PHX-DWL
      United States of America,
 9                                             )
                                               )    FINDINGS AND RECOMMENDATION
                             Plaintiff,        )    OF THE MAGISTRATE JUDGE UPON A
10                                             )
      vs.                                           PLEA OF GUILTY AND ORDER
11                                             )
                                               )
      Brannen Sage Mehaffey,                   )
12                                             )
13                          Defendant.         )
                                               )
14                                             )

15
16   TO THE HONORABLE DOMINIC W. LANZA, UNITED STATES DISTRICT
17   JUDGE:
18          Upon Defendant’s request to enter a plea of guilty pursuant to Rule 11 of the Federal
19   Rules of Criminal Procedure, this matter came on for hearing before United States
20   Magistrate Judge Eileen S. Willett on December 7, 2021 with the oral consents of the
21   Defendant, counsel for Defendant, and counsel for the United States of America. After
22   consultation with counsel, Defendant has orally consented on the record to proceed via
23   telephone. Defendant has consented to telephonic appearance by counsel. Defendant
24   indicated his counsel is authorized to sign the Consent. A copy of the Waiver of Indictment
25   and Plea Agreement signed by all parties was previously lodged with the Court.
26          The undersigned Magistrate Judge accepted Defendant’s waiver of indictment after
27   inquiry was made of Defendant as to the understanding of the right to prosecution by
28   indictment. Defendant’s written waiver constitutes a part of the plea agreement lodged with
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 1   the Court.
 2          The hearing on Defendant’s plea of guilty was in full compliance with Rule 11 of
 3   the Federal Rules of Criminal Procedure, before the undersigned Magistrate Judge in open
 4   court and on the record. In consideration of that hearing and the statements made by
 5   Defendant under oath on the record and in the presence of counsel, and the remarks of the
 6   Assistant United States Attorney and of counsel for Defendant,
 7          I FIND as follows:
 8          (1) that Defendant understands the nature of the charge to which Defendant pleads
 9   and the elements of the offense(s) to which Defendant is pleading guilty;
10          (2) that Defendant understands the right to trial by jury, to persist in a plea of not
11   guilty, to the assistance of counsel, and appointed counsel if necessary at trial and at every
12   other stage of the proceeding, to confront and cross-examine adverse witnesses, the right
13   against compelled self-incrimination, to testify and present evidence, and to compel the
14   attendance of witnesses;
15          (3) that Defendant understands any maximum possible penalty for the offense to
16   which Defendant is pleading guilty, including imprisonment, fine and supervised release,
17   and where applicable, any mandatory minimum penalty; that Defendant understands the
18   effect of the supervised release term; that Defendant understands the Court’s authority to
19   order restitution and its obligation to impose a special assessment and any applicable
20   forfeiture;
21          (4) that Defendant understands the Court’s obligation to calculate the applicable
22   sentencing guideline range and to consider that range, possible departures under the
23   Sentencing Guidelines, and other sentencing factors under 18 U.S.C. § 3553(a); that
24   Defendant understands that the sentencing guidelines are advisory, not mandatory, and that
25   the Court may sentence outside those guidelines;
26          (5) that Defendant understands that answers given by Defendant may later be used
27   in a prosecution for perjury or false statement;
28          (6) that Defendant understands that by pleading guilty Defendant is waiving the


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 1   right to a jury trial;
 2           (7) that Defendant understands the terms of any plea agreement provision waiving
 3   the right to appeal or to collaterally attack the sentence, and has knowingly, intelligently
 4   and voluntarily waived those rights;
 5           (8) that the plea of guilty by Defendant has been knowingly, intelligently, and
 6   voluntarily made and is not the result of force or threats or of promises apart from the plea
 7   agreement between the parties;
 8           (9) that Defendant is competent to plead guilty;
 9           (10) that Defendant is satisfied with the representation provided by defense counsel;
10   and
11           (11) that there is a factual basis for Defendant’s plea.
12           I RECOMMEND that the Court accept Defendant’s plea of Guilty pursuant to the
13   plea agreement.
14                                              ORDER
15           IT IS ORDERED that any objection to the guilty plea proceedings and any request
16   for supplementation of those proceedings be made by the parties in writing and shall be
17   specific as to the objection or request made. All objections or requests for supplementation
18   shall be filed within fourteen (14) days of the date of service of a copy of these findings
19   unless extended by an Order of the assigned judge.
20           IT IS FURTHER ORDERED that any letters, documents, or other matters
21   Defendant would like the sentencing judge to consider before sentencing (including the
22   English translation of any writings not in English) must be submitted by defense counsel
23   in paper form with the original to the U. S. Probation Office and copies to the sentencing
24   judge and opposing counsel at least five (5) business days prior to the sentencing date or
25   they may be deemed untimely by the sentencing judge and not considered. No more than
26   ten (10) character letters shall be submitted by defense counsel, unless otherwise ordered
27   by the court. Character letters shall not be mailed directly to the sentencing judge by any
28   family members or other persons writing in support of the defendant. Character letters or a


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 1   notice of such shall not be filed electronically unless otherwise ordered by the court.
 2          IT IS FURTHER ORDERED that any motions for upward or downward
 3   departures or any sentencing memoranda must be filed at least seven (7) business days
 4   prior to the sentencing date. Responses are due three (3) business days prior to the
 5   sentencing date. Any motion to continue sentencing must be filed promptly upon discovery
 6   of the cause for continuance and must state the cause with specificity. Motions to continue
 7   sentencing filed less than fourteen (14) days before sentencing are disfavored. If either
 8   party intends to call a speaker at sentencing, other than the Defendant, counsel must notify
 9   the Courtroom Deputy at least three (3) business days in advance.
10          Dated this 7th day of December, 2021.
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13                                                     Honorable Eileen S. Willett
                                                       United States Magistrate Judge
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